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6                IN THE UNITED STATES DISTRICT COURT FOR THE

7                       EASTERN DISTRICT OF CALIFORNIA

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9    OSCAR RODRIGUEZ,                  )       No. CR-F-98-5149 OWW
                                       )
10                                     )       ORDER DENYING PETITIONER'S
                                       )       MOTION TO CORRECT SENTENCE
11                    Petitioner,      )       PURSUANT TO 18 U.S.C. §
                                       )       3582(c)(2)
12              vs.                    )
                                       )
13                                     )
     UNITED STATES OF AMERICA,         )
14                                     )
                                       )
15                    Respondent.      )
                                       )
16                                     )

17        On May 27, 2008, Petitioner Oscar Rodriguez moved for a two-

18   level reduction in his base offense level pursuant to 18 U.S.C. §

19   3582(c)(2) based on Amendment 715 to the Sentencing Guidelines.

20        Petitioner’s motion is DENIED.       Petitioner’s conviction and

21   sentence did not involve crack cocaine but, rather, powder

22   cocaine.   Amendment 715 only applies if the offense of conviction

23   involved cocaine base/crack cocaine.       Petitioner’s argument that

24   his sentence may be reduced because the Sentencing Guidelines are

25   now advisory is without merit.        Section 3582(c)(2) allows the

26   district court to modify a sentence where the applicable

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1    guideline range has been lowered by the Sentencing Commission

2    subsequent to the imposition of sentence.         United States v.

3    Booker, 543 U.S. 220 (2005), did not lower sentencing ranges, nor

4    was Booker an action “by the Sentencing Commission.”           Therefore,

5    Section 3582(c)(2), by its own terms, does not apply to

6    Petitioner’s motion.      Carrington v. United States, 503 F.3d 888,

7    890-891 (9th Cir.2007).

8          IT IS SO ORDERED.

9    Dated:   July 24, 2008                 /s/ Oliver W. Wanger
     668554                            UNITED STATES DISTRICT JUDGE
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